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COUCH
ON

INSURANCE
3D

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§ 219:1 COUCH ON INSURANCE 3D

Jurisprudence ©}

18 Am Jur 2d, Contribution.
44 Am Jur 2d, Insurance §§ 1781 et seq.

Am Jur Proof of Facts

98 Am Jur Proof of Facts 3d 507, Proof of Excess Insurer’s Cause of
Action Against Primary Insurer. 6

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WESTLAW®. Use KeyCite to check citations for form, parallel
references, prior and later history, and comprehensive citator
information, including citations to other decisions and secondary
materials.

I. INTRODUCTION TO OTHER INSURANCE CLAUSES
§ 219:1 What Are Other Insurance Clauses

Insurance policies, particularly liability policies, commonly con-
tain “other insurance” clauses that limit an insurer’s liability where
other insurance may cover the same loss. ! . @

@ Observation: The rights and obligations of the various
insurers are determined by the “battle of the forms” which
requires close scrutiny of each word contained in each of the
clauses.

Such clauses attempt to control the manner in which each insurer
contributes to or shares a covered loss,* Because “other insurance”

- clauses are designed to preclude payment of a disproportionate
amount of a loss shared with another insurer, such a clause does not
apply where the same insurer issues both covering policies. ? Where

[Section 219:1}
1 General Star Nat. Ins. Corp. v. World Oil Co., 973 F. Supp. 943 (C.D.

Cal. 1997).
2 Fire Ins. Exchange v. American States Ins. Co., 39 Cal. App. 4th 653, 46 :
Cal. Rptr. 2d 135 (2d Dist, 1995); Kern v. Michigan Mut. Liability Co., 129
Ill. App. 2d 423, 263 N.E.2d 134 (4th Dist. 1970); Truck Ins, Exchange v.
Maryland Cas. Co., 167 N.W.2d 163 Towa 1969).

3 United Services Auto. Ass’n v. Dokter, 86 Nev. 917, 478 P.2d 583 (1970).

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OTHER INSURANCE CLAUSES § 219:1

such clauses are in effect, each insurer's ultimate liability “is gener-
ally determined by the explicit provisions of the respective ‘other
insurance’ clauses.”* Such is the case even where the policies cover
different insureds, §

“Other insurance” clauses originated in the property insurance
context to eliminate the supposed “moral hazard” which would
ensue where the insured was able to obtain two or more policies
insuring the subject property for an amount in excess of its worth. ®

An other insurance clause may be circumvented by effect of a
contract or rule of law. For example, the regulations of the Interstate
Commerce Commission determine primary liability in the case of
interstate motor carriers.’ Likewise, an indemnity agreement
between the insureds or a contract with an indemnification clause,
such as is commonly found in the construction industry, may shift an
entire loss to a particular insurer notwithstanding the existence of
an “other insurance” clause in its policy.®

@ Observation: In such situations, the practitioner must first
determine whether the indemnification agreement is enforcea- .
ble under the laws of the jurisdiction before determining the
impact of the other insurance clauses. For example, is the agree-
ment enforceable under N.Y. Gen. Obligations Law § 5-322.1
which voids agreements where an entity seeks indemnification
for its own negligence.

4 Continental Casualty Co. v. Pacific Indeminity Co., 1384 Cal. App. 3d
389, 184 Cal. Rptr. 583 (2d Dist. 1982).

5 Fire Ins. Exchange v. American States Ins. Co., 39 Cal, App. 4th 653, 46
Cal. Rptr. 2d 135 (2d Dist. 1995).

8 Carriers Ins. Co. v. American Policyholders’ Ins. Co., 404 A.2d 216 (Me.
1979); Owens-Illinois, Inc. v. United Ins. Co., 138 N.J. 437, 650 A.2d 974
(1994).

See also Richmond, D., Issues and- Problems in “Other Insurance,” Multi-
ple Insurance, and Self-Insurance, 22 Pepperdine Law Review 1373 (1995).

7 Transamerica Ins. Co. v. Maryland Cas, Ins. Co., 166 Ariz, 219, 801 P.2d
454 (Ct. App. Div. 2 1990); Planet Ins. Co. v. Gunther, 160 Misc. 2d 67, 608
N.Y. §.2d 763 (Sup. Ct. 1993); Ohio Cas. Ins. Co. v. United S, Assur, Co., 85
Ohio App. 3d 529, 620 N.E.2d 163 (2d Dist. Clark County 1993).

8 J. Walters Const., Inc. v. Gilman Paper Co., 620 So. 2d 219 (Fla. Dist. Ct.
App. 1st Dist. 1993); Costello v. Times Square Hotel Co., 171 A.D.2d 505, 567
N.Y. 5.2d 231 (1st Dep’t 1991).

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In addition, policy exclusions may terminate an insurer's obliga-
tions where it might otherwise appear that its policy is concurrent
with another. ® Such is the case, for example, with a “newly-acquired
automobile” clause in an automobile insurance policy. 1°

“Other insurance” clauses govern the relationship between insur-
ers, they do not affect the right of the insured to recover under each
concurrent policy. 1 Likewise, an “other insurance” clause does not
obligate the insured to maintain a second policy.

§ 219:2 Scope

This chapter discusses the nature and validity of other insurance
provisions in policies of primary insurance and the resolution of
conflicts where such clauses come into conflict in two or more policies
which purport to cover the same risk. The intent and purpose of an

9 Fireman’s Fund Ins. Co. v. Allstate Ins. Co., 234 Cal. App. 3d 1154, 286
Cal. Rptr. 146 (3d Dist. 1991); Englund v. State Farm Mut. Auto. Ins. Co.,
190 Mich. App. 120, 475 N.W.2d 369 (1991); Progressive Cas. Ins. Co. v.
Empire Ins, Co., 162 Misc. 2d 91, 616 N.Y. 8.2d 136, 137-38 (Sup. Ct. 1994);
Mattheis by Vowinkel v. Heritage Mut. Ins. Co., 169 Wis. 2d 716, 487
N.W.2d 52 (Ct. App. 1992).

10 See, for example, Hawaiian Ins. & Guar. Co., Ltd. v. Financial Sec. Ins.
Co., 72 Haw. 80, 807 P.2d 1256 (1991); Ellis v. Weger, 550 N.E.2d 1347 (Ind.
Ct. App. 4th Dist. 1990); Northern Assur. Co. of America v. Farm Bureau
Mut. Ins. Co., Inc., 249 Kan. 662, 822 P.2d 45 (1991); Allstate Ins. Co. v.
Liberty Mut. Ins. Group, 868 P.2d 110 (Utah Ct. App. 1994).

11 Chemical Leaman Tank Lines, Inc. v. Aetna Cas. and Sur. Co., 817 F.
Supp. 1136 (D. N.J. 1993), aff'd in part and remanded on other grounds, 89
F.3d 976, 44 Fed. R. Evid. Serv. (LCP) 1292 (3d Cir. 1996); Employers
Reinsurance Corp. v. Phoenix Ins. Co., 186 Cal. App. 3d 545, 230 Cal. Rptr.
792, 798 (1st Dist. 1986); Zurich Ins. Co. v. Northbrook Excess and Surplus
Ins. Co., 145 WL. App. 3d 175, 98 Ill. Dec. 512, 494 N.E.2d 634 (1st Dist.
1986), appeal allowed, (Oct. 2, 1986), review denied, 118 Il. 2d 23, 112 TL
Dec. 684, 514 N.E.2d 150 (1987); Bazinet v. Concord General Mut. Ins. Co.,
513 A.2d 279 (Me. 1986); Slabic v. Hendrickson, 147 Misc. 2d 472, 556 N.Y.
S.2d 236 (Sup. Ct. 1990).

Payments of insurance benefits to insured by first insurer for insured’s
fire loss in no way affected liability of second insurer for its share of the loss
of uninsured’s mobile home, since contract which insured had with second
insurer was separate and independent from his or her contract with first
insurer, Farmers Texas County Mut. Ins. Co. v. Jones, 660 S.W.2d 879 (Tex.
App. Fort Worth 1983).

12 Lattan v. Royal Ins. Co., 45 N.J. L. 453 (N.J. Sup. Ct. 1883); Hand v.
Williamsburgh City Fire Ins. Co., 57 N.Y, 41, 1874 WL 9752 (1874).

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LIMITATIONS/DEFENSES TO SUBROGATION § 224:102

) For example, an uninsured motorist carriér’s interest in subroga-
tion must be subordinated to recovery of damages by the injured

person, and if the insured releases the tortfeasor in the course of a
good-faith compromise and settlement, the uninsured motorist car-

rier has no recourse. co a

§ 224:102 _But Not When Release Reserves Insurer's.
Rights to Subrogation a

Since a release may be structured so as to preserve an insurer’s
rights, the execution of a release in such a situation does not violate
the policy,?> destroy the insurer’s right to subrogation, 7° nor consti-
tute a defense to an action on the policy. w "

[Section 224:101]
74 Sharp v. Daigre, 555 So. 2d 1361. (La, 1990).

[Séetion 224:102] © st Lo, et

73 Actiid Cas. & Sur. Co: v. Sosebee, 150 Ga. App. 354, 258 S.E.2d- 37
(1979); Czyzewski v. Gleeson, 49 TIL App. 3d 655, 7 III, Dee. 396, 364 N.E.2d
557 (1st Dist. 1977).

Tn an action by an insurer against insureds, volunteer fireman, and volun-
teer fire department, to enforce subrogation rights, insureds did not
interfere with insurer's right of subrogation so as to render insureds liable to
insurer, even though insureds settled their tort action against the fireman,

) owner of vehicle operated by the fireman, and the fire department, since the
release stated that insureds did not release any portion of their claim for
which they had already been compensated by any other policy and for which
subrogation. rights existed. Cincinnati Ins. Co. v. Rose, 63 Ohio Mise. 2d 1,
612 N.E.2d 819 (C.P. 1992). Sa

78 Holbert v. Safe Ins. Co., 114-W. Va. 221, 171 S.E. 422 (1933) (settle-
ment over and above amount of fire msurance). .
Settlement of all claims between insured plaintiff and defendants termi-
nates all causes of action except insurer’s preserved subrogation claim,
which is limited to amount insurer paid insured. Illinois Farmers Ins. Co. v.
Brekke Fireplace Shoppe, Inc., 495 N.W.2d 216 (Minn. Ct. App. 1993). .. .

Insurer that paid insured for loss of personal property destroyed by fire
while stored at warehouse was entitled, as subrogee, to maintain action
against warehouse after insurer paid insured for loss. Fact that insured
entered into settlement with warehouse after receipt af payment by insurer
did not preclude insurer’s action as subrogee, where warehouse was aware of

insurer’s status as subrogee, where insurer was not party to settlement

j agreement, and where release executed by insured in favor of warehouse

explicitly provided that it would not in any way affect rights of insurer in its
action against warehouse. Liberty Mut, Ins. Co. v. National Consol, Ware-

houses, Inc., 34 Mass. App. Ct. 293, 609 N.E.2d 1243 (1993).

77 Holbert v. Safe Ins. Co., 114 W. Va. 221, 171 S.E. 422 (1933).
Where release partially released tortfeasor for less than full amount of
primary policy, but giving credit fo full policy limits and release reserved

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For example, a fidelity insurer’s rights to recover, as an equitable
subrogee, from an insured’s public accountant/auditor for payments
in connection with defalcations of the insured’s employee were pre-
served absent language in the “Release, Assignment and
Subrogation Agreement” between the insurer and insured or the
“Settlement Agreement and Release” between the insured and
accountant/auditor that could be construed as barring such a
claim. 78

§ 224:103 — But Not When Claim Would Have Been Barred
on Other Grounds

The rule that a release executed in favor of tortfeasor and his or
her liability insurer extinguishes the liability of the injured party’s
insurer for medical payments because it destroys that insurer’s sub-
rogation rights is inapplicable where the tortfeasor and the injured
party have the same insurer, since the insurer cannot be subrogated
against itself. 79

§ 224:104 Release Must Be Valid to Impair Insurer’s Rights

@ Observation: As with any contract provision, there must
be a meeting of the minds concerning the terms and conditions
of the applicable provision as well as meeting all other require-
ments of an enforceable contract (i.e., authority and
consideration).

In order to affect an insurer’s subrogation rights, a release must be
executed by one with authority to do so. For example, even if a
settlement agreement between a manufacturer's parent corporation
and the purchaser of the manufacturer’s assets were construed to
purport to release the insurer’s right of subrogation as against the
purchaser, there was no showing that the parent had authority to

rights to proceed against excess carrier, release did not relieve excess carrier
of liability. Gasquet v. Commercial Union Ins. Co,, 391 So. 2d 466 (La. Ct.
App. 4th Cir. 1980), writ denied, 396 So. 2d 921 (La. 1981), writ denied, 396 e
So, 2d 922 (La. 1981), ¢
78 Federal Ins. Co. v. Arthur Andersen & Co., 75 N.Y. 2d 366, 553
N.Y.S.2d 291, 552 N.E.2d 870 (1990).
[Section 224:103]

79 Dupre v. Vidrine, 261 So, 2d 288 (La. Ct. App. 3d Cir. 1972).

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LIMITATIONS/DEFENSES TO SUBROGATION : § 224:148

0 caused injury to the construction manager’s employee, where it was
undisputed that the accident occurred. within the subcontractor’s
work area, even though the accident may have resulted from negli-
gence of the construction manager or any other additional insured,
as the quoted language focuses not upon the precise cause of the
accident but upon the general nature of the operation in the course of
) which the injury was sustained. %

Where a construction contract required the owner to carry insur-
ance and provided that the contractor and owner waive rights
against others for damages caused by the perils insured against, and
the owner procured a policy covering fire and other perils including
windstorm which contained a clause that the insured may, without
prejudice to the insurer and prior to loss, release others from liability
for loss to the property from whatever cause, the insurer waived its
subrogation rights against a contractor, and after payment for wind-
storm loss stistained while the building was under construction, the
insurer could not maintain an action against the contractor for

alleged negligence i in installing the roof." “ mo

C.. WAIVER BY CONDUCT INVOLVING INSURED’S
CLAIM UNDER POLICY

p ' §224:148 Denial of Liability; Generally

Where an insurer denies liability on a policy, 45 it is estopped from
theréafter claiming that it was released when the insured settled
with the wrongdoer,*® or that the insured breached the policy’s
subrogation provision, *’ by impairing its subrogation rights, or

43 Lim v. Atlas-Gem Erectors Co., Inc., 225 AD.2d 304, 638 N.Y. 8.24 946
(ist Dep’t 1996).
For discussion of the antisubrogation rule, see Couch on Insurance 8d,
§§ 224:1 et seq.
44 Commerce & Industry Ins. Co. v. Orth, 254 Or. 226, 458 P.2d 926
(1969). ,
[Section 224:148]
45 For discussion of the effect of an insurer’s disclaimer of coverage, see
Couch on Insurance 3d, §§ 198:52 et seq., and for discussion of an insurer’s
> liability for denial of coverage, see Chapter 205,
_48 Roberts v. Fireman’s Ins. Co. of Newark, N. J.,376 Pa. 99, 101 A.2d 747
(1954).
47 Where insurer denied liability under tractor and trailer collision policy,
it could not thereafter invoke as defense breach of subrogation provision of
policy by insured’s recovery of portion of collision loss from tortfeasor and

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extinguishing its subrogation rights. 9

‘@ Observation: When assessing whether to issue a dis-
claimer letter, the insurer must recognize that it could waive its
rights of subrogation unless it takes the necessary steps to pre-
serve those rights. See discussion below.

An insurer by insisting that the insured seek compensation from
the insurer of the highway department and its employees because a
truck of the state highway department had caused the damage to the
insured’s property waives its right to subrogation and is estopped
from claiming the loss thereof as a defense in an action on the
policy. 5°

Where.a medical payments insurer denied not only liability under
the policy but that there was in existence a policy affording medical
payments coverage, and thereafter the insured’s executor settled the
wrongful death action against the tortfeasor and recovered medical
expenses whereupon the insurer changed its position and stipulated

execution of release in favor of tortfeasor. Dinn Oil Co. v. Hanover Ins. Ce.,
87 ILL. App. 2d 206, 230 N.E.2d 702 (5th Dist. 1967).

48 Where marine insurer covering ocean racing yacht against all risks of
physical loss denied claims and coverage when masts failed and vessel
suffered loss of sails, rigging, and other equipment, and thereafter insured
settled with yacht manufacturer and gave it release, insurer, after being
held liable under policy, could not assert that release violated its subroga-
tion rights under policy condition that policy is void if insured impairs
insurer’s right of recovery. Liberty Mut. Ins. Co. v. Flitman, 234 So. 2d 390
(Fla. Dist. Ct. App. 3d Dist. 1970).

49 Where an insurer made no offer to pay insureds’ claim under an
extended coverage endorsement of a fire policy for damage to a building
which collapsed into an adjoining excavation as a result of repeated blows on
the foundation by a high lift machine, and persisted in denying liability on
the ground that the loss was not covered by a provision of the policy insuring
against damage caused by “vehicles,” and thereafter the insureds instituted
suit against the contractor and the subcontractor of the adjoining excavation
and settled the suit for an amount less than the damage to the building and
executed releases, even if the insurer’s right of subrogation under the policy
could have continued, since the insurer neither paid nor offered to pay claim,
the action of the insurer in denying liability constituted a waiver of any such
right to subrogation. Roberts v. Fireman’s Ins. Co. of Newark, N. J., 376 Pa.
99, 101 A.2d 747 (1954).

50 Weber v. United Hardware & Implement Mutuals Co., 75 N.D. 581, 31
N.W.2d 456 (1948),

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LIMITATIONS/DEFENSES TO SUBROGATION § 224:150

‘“ the existence of the policy and the medical expenses and made medi-

@ cal payments, equity and good conscience precluded the insurer from
recovering the medical payments from the executor under the subro-
gation provision of its policy. *'

On the other hand, where an insured under a collision policy after
an accident demanded payment from his or her insurer but the

insurer advised the insured that the policy was void for fraudulent

» misrepresentations and that the premium was being returned, and
thereafter the insured instituted suit against the estate of the other
motorist for damages and made a settlement and executed a release
in favor. of the estate and its liability insurer for damages as to the
person and property, the insured was thereafter precluded from
recovery from his or her collision insurer under the policy because he
or she destroyed its subrogation rights. *

Further, a professional liability insurer did not waive its subroga-
tion rights under a policy by initially denying coverage where it
subsequently assumed the responsibility of paying the insured’s
retained counsel’s fees where the policy contained a $25,000 deducti-
ble to be applied toward the payment of defense costs, and the
insured paid that amount in fees charged by the retained counsel. 33

@ §224:149 — Failure to Reserve Rights

An estoppel or implied waiver of an automobile insurer’s subroga-
tion rights did not result from the insurer’s failure to include in its
denial letter any assertion or reservation of its contractual rights to
consent to a settlement with the tortfeasor and to subrogation,
where, by that time, the insured had already negotiated a settlement
with the tortfeasor and signed a covenant not to sue. 4

§ 224:150 Payment of Claim Without Requiring
- Subrogation Agreement

An aircraft liability insurer of a company which employed a flight
instructor did not, in settling a claim against the flight instructor by

51 Hardware Dealers Mut. Fire Ins. Co. v. Ross, 129 Ill. App. 2d 217, 262
N.E.2d 618 (3d Dist. 1970).

@ 52 Armijo v. Foundation Reserve Ins. Co., 75 N.M. 592, 408 P.2d 750
(1965).

53 Middleberg, Riddle & Gianna v. Home Ins. Co., 691 So. 2d 738 (La. Ct.
App. 4th Cir. 1997), writ denied, 701 So. 2d 983 (La. 1997).
[Section 224:149]

54 Tate v. Secura Ins., 587 N.E.2d 665 (Ind. 1992).

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@ waives its right to subrogation.

@ Observation: An insurer cannot be perceived as putting its
_ interests before those of the insured. Where the court suspects
‘this is happening, it will decide various coverage issues against
the insurer.

6 . A collision insurer forfeited its right to subrogation where the
insurer made no proper tender of payment of loss to the insured in
that offer was less than any estimate of damage by any witness,
whereupon the insured brought action against the tortfeasor and
recoyered damages for personal injury and property damage, and
the insurer employed counsel who appeared | in the insured’s action
against the tortfeasor. *

.. Where an. insurer clearly did not assist in the insured’s efforts to
recover from the other driver because of a dispute between the
insurer and the insured occasioned by the insurer’s delay in satisfy-
ing its obligations to the insured under the policy, the trial court did
not err in denying a claim for subrogation. ®

.. An insurer’s failure to pay all of an insureds’ claims resulted i in
_ waiver of the insurer’s claim that the insureds breached the subroga-
@ tion clause by suing tortfeasor and obtaining satisfaction of

judgment. 8
Further, an unreasonable delay in settling with an. indured may
waive the right to demand that. the insured not settle with the

6° Poole v. William Penn Fire Ins, Co., 264 Ala. 62, 84 So. 2d 333 (1955).

~ Provision of policy of i insurance against damage to automobile by collision
that insured shall do nothing after loss to prejudice insuret’s right of subro-
gation, even though violated by release of wrongdoer, is waived by i insurer’s
failure to preserve its right of subrogation by satisfying, after due notice, its
undoubted liability to insured, who in ‘his or ber action against wrongdoer
for personal injury was compelled by law to include claim for property
damage or lose it. Powers v. Calvert Fire Ins. Co., 216 8.C. 309, 57 §.B.2d
638, 16 A.L.R.2d 1261 (1950).

81 In action, on policy, insurer could not prevail on theory that taking
y judgment against tortfeasor destroyed insurer’s right to subrogation. All-
® state Ins. Co. v. Austin, 120 Ga. App. 430, 170 S.E.2d 840 (1969).
a 62 Farm Bureau Mut, Ins. Co. v. Dercach, 450 N.E.2d 537 Gnd. Ct. App.
8d Dist. 1983).
Cal eae v. State Farm Mut. Auto. Ins. Co., 207 Cal. App. 3d 479, 255
al ReteeAO (2d Dist. 1989).

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wrongdoer so as to prejudice the right to subrogation.

§224:153 Breach of Duty to Settle ®

An excess insurer could bring an action against a primary carrier
on the basis of equitable subrogation for bad faith or negligent
refusal to settle within the primary coverage limit.®* Accordingly, a
primary automobile insurer’s alleged breach of duty to settle “was
properly raised defensively by an excess carrier under California law
to counter a primary insurer's subrogation claim, and also against a
primary insurer’s declaratory judgment and contribution claims.”

However, the active participation by an excess carrier in settle-
ment negotiations may decrease or prevent the excess carrier’s
recovery where the excess insurer negligently undertakes or refuses
to undertake settlement negotiations after the exhaustion, by tender
or pay out, of the primary policy limits.

As between coinsurers, a law enforcement officer's professional
liability insurer did not: waive a right to equitable subrogation
against a public official’s and employee’s liability insurer by under-
taking the defense of an insured city, failing to reserve a right to
deny coverage, and failing to make reasonable efforts to settle a case
before trial, where the first insurer kept the second insurer apprised
of developments in the case and repeated requests that the second
insurer participate in both the defense and the settlement.

64 McNeill v. District-Realty Title Ins. Corp., 342 A.2d 55 (D.C, 1975).

[Section 224:153] /

65 For discussion of insurer’s duty to settle, see Couch on Insurance 3d,
Chapter 203. / .

66 Whether insured consented to primary msurer’s conduct of underlying
litigation, so as to preclude excess insurer’s equitable subrogation claim,
was for juries, Certain Underwriters of Lloyd’s and Companies Subscribing
to Excess Aviation Liability Ins. Policy No. FL-10959 A & B v. General Acc.
Ins, Co. of America, 909 F.2d 228 (7th Cir. 1990).

. 8? Sequoia Ins. Co. v. Royal Ins. Co. of America, 971 F.2d 1385 (9th Cir.
1992).

68 For defenses of contributory negligence or comparative fault to be
“available” to primary carrier or defense attorney in equitable subrogation
action brought by excess insurer, excess insurer must have had duty to act
that is asserted to have been negligently performed or omitted. National
Union Fire Ins, Co. of Pittsburgh, Pa. v. Insurance Co. of North America, 955
S.W.2d 120 (Tex. App. Houston 14th Dist. 1997), aff'd, 48 Tex. Sup. Ct. J.
775, 2000 WL 674756 (Tex. 2000).

69 International Ins: Co. v. Guaranty Nat. Ins. Co., 780 F. Supp. 546 (N.D.
Til. 1991), vacated on other grounds, 994 F.2d 1280 (7th Cir. 1993).

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